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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA

Criminal No. JKB-14-591

ANGELA M. BLYTHE,

Defendant.

 

 

MEMORANDUM

Pending before the Court is.Angela Mae Liller’s! renewed motion for an accounting of the
restitution and forfeiture amounts collected in this case and United States v. Vansickle et al.,
Criminal No. CCB-14-71 (“Renewed Motion”). (Renewed Mot., ECF No. 182.) Ms. Liller’s
previous motion for an accounting (Mot., ECF No. 168) was denied by the Court (Mem., ECF No.
180; Order, ECF No. 181) after the United States of America (“Government”) provided up-to-date
information about Ms. Liller’s outstanding financial obligations. For the following reasons, the
Court will DENY Ms. Liller’s Renewed Motion.

I. Background

The Court will recite the minimum facts necessary to resolve Ms. Liller’s Renewed .
Motion.” In 2015, the Court entered a criminal judgment against Ms. Liller, which included a
restitution and forfeiture penalty. (Judgment, ECF No. 95.) Ms. Liller’s restitution and forfeiture

judgments were ordered to be joint and several with Defendant Samuel VanSickle and Defendant

 

Ms. Liller was formerly known as Angela Mae Blythe.

? The Court’s prior opinions describe the factual background of this dispute in greater detail. (See, e.g., ECF Nos.
178, 180.)

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Louis Strosnider. (Jd. at 6; sée also Consent Forfeiture Order, ECF No. 90; Restitution Order,
ECF No. 160 in Crim. No. CCB-14-71.) Since beginning her term of supervised release, Ms, Liller_
has made monthly payments toward her outstanding financial obligations. (Mot., ECF No. 168
17)

In 2022, Ms. Liller learned that the Government had seized and sold at least 20 properties
under various forfeiture orders in United States v. Vansickle et al., Crim. No, CCB-14-71. In her
prior motion for an accounting, Ms. Liller alleged she received no credit toward her forfeiture and
restitution judgments from the $2.7 million the Government gained from selling those properties.
(Mct., ECF No. 168 9; ECF No. 168-3.) Presuming any profits from the sale would be applied
to Defendant Strosnider’s and Defendant VanSickle’s outstanding balarices, Ms. Liller asked the
Government to provide an accounting of the amounts her co-defendants had contributed toward
the joint and several judgments. Thus, Ms. Liller filed her previous motion to ask that the Court .
order the Government to “provide an accurate accounting of [Ms. Liller’s] outstanding amount
due for forfeiture and restitution.” (Mot., ECF No. 168 § 22.)

The Court denied Ms. Liller’s prior motion. As described in the Court’s prior opinion, Ms.
Liller presented only the sales price of the properties, The Government noted that each property
had “a different mix of claims, encumbrances, and other interests that [needed to] be paid before
money [was] available for distribution.” (Opp’n, ECF No. 171 { 12.) Although several properties
still had pending claims as of December 19, 2022, the Government explained that it was working
toward resolving the outstanding issues. (/d.) Specifically, the Government said:

In this case, we have not been notified by the U.S. Marshals Service that funds are

available, and we know that several of the parcels are still involved in claims disposition.

We are scheduling a meeting in January to discuss what remains to be done to bring the
real estate issues to a conclusion. .

(id) This statement by the Government is the subject of Ms. Liller’s Renewed Motion.
 

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IL Analysis

Ms. Liller’s Renewed Motion argues the Government failed to fulfill its promise that “a
meeting would be scheduled in January 2023 to resolve claims disposition.” (Renewed Mot., ECF
No. 182 9 11-15.) The Court will deny Ms. Liller’s motion for two reasons.

First, the Government did not represent it would ultimately resolve the pending claims in
January. 2023. The Government simply said it was planning to “schedul[e] a meeting in January
to discuss what remains to be done to bring the real estate issues to a conclusion.” (Opp’n to Mot.,
ECE No. 171 § 12 (emphasis added).) In other words, the Government merely represented that it
would confer about what administrative tasks need to be completed. Counsel’s expression of an
intent to schedule a meeting does not entitle Ms. Liller to court-ordered relief.

Second, the Court has little authority to micromanage how quickly executive agencies
process forfeiture disbursements, Ms. Liller’s Renewed Motion essentially asks the Court to order
the U.S. Attorney’s Office and the U.S. Marshals Service to prioritize administrative tasks related
- tohercase. The Court declines to wade into the day-to-day enforcement priorities of the executive
branch.

Congress granted the Attorney General the power to dispose of forfeited property. See 21
U.S.C. § 881(e), 18 U.S.C. § 1963(g). Enforcement decisions are “committed to agency
discretion”—and therefore not subject to judicial review—if “the [authorizing] statute is drawn so
that a court would have no meaningful standard against which to judge the agency’s exercise of
discretion.” See Heckler vy. Chaney, 470 U.S. 821, 830 (1985). No statute provides ‘a meaningful
standard against which the Court could judge the proper speed of processing forfeiture
disbursements. The U.S. Marshals Service and the U.S. Attorney’s Office must balance their

enforcement priorities with the resources available to them. The Court will defer to the expertise

 
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and experience of those executive agencies in managing their workflow and conducting
administrative tasks. See United States v. Armstrong, 517 U.S. 456, 464 (1996) (“[I]n the absence
of clear evidence to the contrary, courts presume that [the Attorney General and United States
Attorneys] have properly discharged their official duties.”). Mere frustration with how long the
Government has taken to process certain disbursements does not provide a basis for relief.
Accordingly, the Court will DENY Ms. Liller’s Renewed Motion.
Il. Conclusion
For the reasons stated here, the Court shall issue an Order denying Ms. Liller’s Renewed

Motion for Accounting (Renewed Mot., ECF No. 182).

DATED this_/5 day of February, 2023.

BY THE COURT:

Cn TK (DQ ho

James K. Bredar
Chief Judge
